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                          UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

 MS HEALTH, INC.,                                             Case No. 8:20-cv-02118
     Plaintiff,
 v.                                                           Honorable

 CATHOLIC CHARITIES, DIOCESE OF ST.
 PETERSBURG, INC.,
      Defendant.

                                              COMPLAINT

        Plaintiff MS Health, Inc. (“MS Health”) states the following as its Complaint against

Catholic Charities, Diocese of St. Petersburg, Inc. (“CCDOSP”).

                                      Jurisdiction and Venue

        1.      MS Health is an Illinois corporation with its principal place of business located at

325 N Milwaukee Ave Suite G1, Wheeling, IL, 60090.

        2.      CCDOSP is a Florida not-for-profit corporation with a principal place of business

located at 1213 16th St. North, St. Petersburg, FL 33705.

        3.      This Court has federal question jurisdiction over this action under 28 U.S.C. §

1331 because this action alleges violations of federal statutes.

        4.      This Court also had federal diversity jurisdiction under 28 U.S.C. § 1332 because

the parties are diverse and the amount in controversy exceeds $75,000 exclusive of all costs, fees

and interest.

        5.      Venue is proper in this judicial district under 28 U.S.C. § 1391 because CCDOSP

resides in this district and a substantial part of the events giving rise to the claims raised in this

lawsuit occurred within the district.

                                        Factual background

        6.      CCDOSP entered into a contract with MS Health pursuant to which MS Health
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provided CCDOSP an annual license to use its proprietary licensed software in exchange for

compensation.

       7.       MS Health owns all right, title and interest, including copyrights, in and to its

proprietary licensed software.

       8.       CCDOSP paid for its use of the software from 2010 to 2014.

       9.       On information and belief, CCDOSP gained unauthorized access to MS Health

computer code and repeatedly accessed and copied various portions of the proprietary software.

       10.      On information and belief, CCDOSP unlawfully accessed, copied and modified

significant portions of MS Health’s software for its own personal gain and to the substantial

detriment of MS Health.

                                Count I – Copyright Infringement

       11.      The above paragraphs are incorporated by reference.

       12.      MS Health is the sole owner of the copyright in an original work that is fixed in

tangible media of expression.

       13.      The United States Copyright Office accepted an application for copyright

registration for the original work, and attached as Exhibit 1.

       14.      Upon information and belief, CCDOSP has produced, reproduced, prepared

derivative works based upon, distributed, and publicly displayed MS Health’s protected work or

derivatives, without consent.

       15.      CCDOSP’s acts violate MS Health’s exclusive rights under the Copyright Act, 17

U.S.C. §§ 106 and 501, including the exclusive rights to produce, reproduce, and distribute

copies, to create derivative works, and to publicly display the work.

       16.      CCDOSP’s infringement has been undertaken knowingly, and with intent to

financially gain from MS Health’s protected copyrighted work.


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       17.     Because of CCDOSP’s infringing acts, MS Health is entitled to actual damages

and CCDOSP’s profits attributable in an amount to be proved at trial and all other relief allowed

under the Copyright Act.

       18.     CCDOSP’s infringement has caused and is causing irreparable harm to MS

Health, for which there is no adequate remedy at law.

       19.     MS Health has suffered damages at, as well as the need for injunctive relief

pursuant to 17 U.S.C. § 502 enjoining any uses by CCDOSP of MS Health’s copyrighted

materials and to an order under 17 U.S.C. § 503 that any infringing materials be impounded and

destroyed.

             Count II – Violation of the Digital Millennium Copyright Act

       20.     The above paragraphs are incorporated by reference.

       21.     MS Health has obtained copyright registration of its source code.

       22.     MS Health employs various technological measures to block access to the

proprietary content of its source code.

       23.     On information and belief, CCDOSP circumvented technological measures that

effectively control access to MS Health’s proprietary and copyrighted source code and website.

       24.     MS Health has been damaged, and will continue to be damaged, by CCDOSP’s

acts, in an amount to be determined at trial.

       25.     In connection with CCDOSP’s violations, MS Health is entitled to compensatory

damages or statutory damages, exemplary damages, injunctive relief, and all other relief available

under 17 U.S.C. §§ 1201-1203, including attorneys’ fees and costs.

                               Count III – Breach of Contract

       26.     The above paragraphs are incorporated by reference.

       27.     CCDOSP has failed to carry through with the obligations contained in its


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contract with MS Health.

       28.     CCDOSP’s conduct constitutes a breach of the contract.

       29.     CCDOSP’s breaching conduct includes, but is not limited to: failing to

compensate MS Health pursuant to the contract; continuing to use property of MS Health

without compensation; and misappropriating MS Health’s source-code and other protected

property for its own use.

       30.     MS Health has been damaged by CCDOSP’s breach of contract.

                                   Count VII - Unjust Enrichment

       31.     The above paragraphs are incorporated by reference.

       32.     By improperly using MS Health’s confidential information, work product, source

code, trade secrets, and other resources without compensation, CCDOSP been unjustly

enriched.

       33.     CCDOSP’s retention of these benefits violates justice, equity and good conscience

and has come at the expense of MS Health.

                                            Prayer for Relief

       MS Health prays for:

   A) all damages sustained by it as a result of the wrongful conduct described above, beginning

       with the earliest date of violation up until the date of the entry of the final judgment in

       this action;

   B) pre- and post-judgment interest;

   C) attorneys’ fees and costs; and

   D) Such other and further relief as this Court may deem just and proper.




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                                    Respectfully submitted,

                                    /s/David M. Zack
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                                    Counsel for MS Health
Dated: September 9, 2020




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